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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-175 (TJK)
                                              :
ETHAN NORDEAN,                                :
also known as “Rufio Panman,”                 :
JOSEPH BIGGS,                                 :
ZACHARY REHL, and                             :
CHARLES DONOHOE,                              :
                                              :
                       Defendants.            :

          GOVERNMENT’S NOTICE REGARDING STATUS OF DISCOVERY

       The United States of America, by and through undersigned counsel, respectfully submits

the attached memorandum, prepared by the U.S. Attorney’s Office for the District of Columbia,

regarding the status of discovery in cases related to the events at the U.S. Capitol on January 6,

2021. The memorandum does not address discovery in this particular case—rather, its purpose is

to address discovery across all cases related to January 6, 2021, and to provide an update on the

status of the government’s efforts to meet its discovery obligations across all of those cases since

its previous notice that was filed on July 14, 2021 (ECF 120-1).

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793

                                     By:      /s/ Jason McCullough
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